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                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA

 In re:                                       Chapter 15
 BRON Creative USA, Corp.                     Case No. 23-56799
 BRON Digital USA, LLC                        Case No. 23-56801
 BRON Life USA Inc. f/k/a BRON Legacy USA     Case No. 23-56802
 Inc.
 BRON Media Holdings USA Corp.                Case No. 23-56798
 BRON Releasing USA Inc.                      Case No. 23-56803
 BRON Studios USA Inc.                        Case No. 23-56804
 BRON Ventures 1, LLC                         Case No. 23-56806
 BRON Studios USA Developments Inc.           Case No. 23- 56805
 Bakhorma, LLC                                Case No. 23-56807
 Drunk Parents, LLC                           Case No. 23-56808
 Fables Holdings USA, LLC                     Case No. 23-56809
 Fables Productions USA Inc                   Case No. 23-56810
 Gossamer Holdings USA, LLC                   Case No. 23-56811
 Gossamer Productions USA Inc.                Case No. 23-56812
 Harry Haft Productions, Inc.                 Case No. 23-56813
 Heavyweight Holdings, LLC f/k/a Harry Haft   Case No. 23-56815
 Films, LLC
 I Am Pink Productions, LLC                   Case No. 23-56817
 Lucite Desk, LLC                             Case No. 23-56818
 National Anthem Holdings, LLC f/k/a BCDC     Case No. 23-56819
 Holdings, LLC
 National Anthem ProdCo Inc.                  Case No. 23-56820
 Oakland Pictures Holdings, LLC               Case No. 23-56821
 Pathway Productions, LLC                     Case No. 23-56823
 Robin Hood Digital PC USA Inc.               Case No. 23-56824
 Robin Hood Digital USA, LLC                  Case No. 23-56825
 Solitary Holdings USA, LLC                   Case No. 23-56826
 Surrounded Holdings USA LLC                  Case No. 23-56827
 Welcome To Me, LLC                           Case No. 23-56828
          Debtors in a Foreign Proceeding.          Joint Administration Requested.

            LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

      BRON Media Corp., in its capacity as the Canadian Court-appointed and authorized

foreign representative (the “Foreign Representative”) for the above-captioned debtors
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(collectively, the “Debtors”) which are the subjects of a reorganization proceeding (the “CCAA

Proceeding”) commenced before the Supreme Court of British Columbia (the “Canadian Court”)

under Canada’s Companies’ Creditors Arrangement Act, hereby files this list pursuant to Rule

1007(a)(4) of the Federal Rules of Bankruptcy Procedure and states as follows:

1.        Parties Authorized to Administer Foreign Proceedings of the Debtors:

        In addition to the Foreign Representative, the Parties duly authorized as the foreign
representative for the Debtors in the CCAA Proceeding in the Canadian Court are as follows
(collectively with BRON Media Corp., the “Foreign Representatives”):

               Debtor Company                                    Jurisdiction

     1.        BRON Animation Inc.                               British Columbia

     2.        BRON Creative Corp.                               Ontario

     3.        BRON Developments Inc.                            British Columbia

     4.        BRON Media Corp.                                  British Columbia

     5.        BRON Media Holdings Intl. Corp.                   British Columbia

     6.        BRON Media Holdings USA Inc.                      British Columbia

     7.        BRON Releasing Inc.                               British Columbia

     8.        BRON Studios Inc.                                 British Columbia

     9.        BRON Ventures 1 (Canada) Corp                     British Columbia

     10.       BRON Everest Productions Inc.                     Ontario

     11.       Fables Productions BC Inc.                        British Columbia

     12.       Gossamer Productions BC Inc.                      British Columbia

     13.       Hench 2 BC Productions Inc.                       British Columbia

     14.       Henchmen Productions Inc.                         British Columbia

     15.       Robin Hood Digital PC BC Inc.                     British Columbia

     16.       Windor Productions BC Inc.                        British Columbia
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   17.    BRON Creative USA, Corp.                     Nevada

   18.    BRON Digital USA, LLC                        Delaware

   19.    BRON Life USA Inc. (BRON Legacy USA Inc.)    Delaware

   20.    BRON Media Holdings USA Corp.                Delaware

   21.    BRON Releasing USA Inc.                      Delaware

   22.    BRON Studios USA Inc.                        Nevada

   23.    BRON Ventures 1, LLC                         Delaware

   24.    BRON Studios USA Developments Inc.           Nevada

   25.    Bakhorma, LLC                                Washington

   26.    Drunk Parents, LLC                           New York

   27.    Fables Holdings USA, LLC                     Delaware

   28.    Fables Productions USA Inc                   Delaware

   29.    Gossamer Holdings USA, LLC                   Delaware

   30.    Gossamer Productions USA Inc.                Delaware

   31.    Harry Haft Productions, Inc.                 New York

   32.    Heavyweight Holdings, LLC                    Delaware
          (previously Harry Haft Films, LLC)
   33.    I Am Pink Productions, LLC                   Delaware

   34.    Lucite Desk, LLC                             Delaware

   35.    National Anthem Holdings, LLC                Delaware
          (f. k. a. BCDC Holdings, LLC)
   36.    National Anthem ProdCo Inc.                  New Mexico

   37.    Oakland Pictures Holdings, LLC               Delaware

   38.    Pathway Productions, LLC                     Delaware

   39.    Robin Hood Digital PC USA Inc.               Delaware

   40.    Robin Hood Digital USA, LLC                  Delaware
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      41.        Solitary Holdings USA, LLC                          Delaware

      42.        Surrounded Holdings USA LLC                         Delaware

      43.        Welcome to Me, LLC                                  California


        The Foreign Representatives believe that, other than the CCAA Proceeding, there are no
other currently pending proceedings against the Debtors outside of the United States. The Foreign
Representatives can be located at the following address 1700-Park Place, 666 Burrard Street,
Vancouver, British Columbia, Canada.

2.       Litigation Parties in the United States:

        The Foreign Representatives believe that other than these Chapter 15 cases, the following
is the only currently pending proceeding against any of the Debtors within the United States:

                                           Date                                     Court File
     Plaintiff    Debtor Defendants      Initiated        Jurisdiction               Number
                                                       U.S. District Court
     Hudson      Bron Studios USA
                                                       Southern District of       7:21-cv-08259-
     Private     Inc. & Bron Creative   10/7/2021
                                                        New York (White                 CS
     LP          USA Corp.
                                                             Plains)

3.       Entities Against Whom Provisional Relief is Sought Under 11 U.S.C. § 1519:

         A list of entities against whom provisional relief is sought is attached hereto as Exhibit A.
The Foreign Representative also seeks provisional relief against plaintiffs and other parties in the
aforesaid civil actions, if any, and protection of the Debtors’ property and assets within the
territorial jurisdiction of the United States.

                     [SIGNATURES APPEAR ON THE FOLLOWING PAGE]
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Dated: July 20, 2023.                               JONES & WALDEN LLC

                                                     /s/ Cameron M. McCord
                                                     Cameron McCord
                                                     Georgia Bar No. 143065
                                                     Mark Gensburg
                                                     Georgia Bar No. 213119
                                                     Attorneys for Debtors
                                                     699 Piedmont Ave NE
                                                     Atlanta, Georgia 30308
                                                     (678) 701-9235
                                                     cmccord@joneswalden.com
                                                     mgensburg@joneswalden.com
                                                     Counsel for Debtors and Foreign
                                                     Representatives
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                                   Exhibit A

               Entities Against Whom Provisional Relief is Sought
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Bron Studios USA    Creditor(s)                                        Street                                              City               State   Zip Code   Country
                    11 WORLDWIDE LIMITED                               192‐198 VAUXHALL BRIDGE ROAD                        LONDON                     SW1V 1DX UK
                    ACADEMY FOUNDATION                                 8949 WILSHIRE BOULEVARD                             BEVERLY HILLS      CA      90211      USA
                    ACCESS ONE, INC ‐ 1815                             820 W JACKSON, STE 650                              CHICAGO            IL      60607      USA
                    ANNEX PRO INC                                      1485 VENABLES ST                                    VANCOUVER          BC      V5L 2G1    CANADA
                    ANTHEM BLUE CROSS                                  PO BOX 51011                                        LOS ANGELES        CA      90051‐5311 USA
                    AV SQUAD, LP                                       101 S La Brea Ave                                   LOS ANGELES        CA      90036      USA
                    BOIES SCHILLER FLEXNER LLP                         333 MAIN STREET                                     ARMONK             NY      10504      USA
                    BRUNS BRENNAN & BERRY PLLC                         99 MADISON AVENUE, 5TH FLOOR                        NEW YORK           NY      10016      USA
                    CERIDIAN SMALL BUSINESS                            3311 E OLD SHAKOPEE RD                               BLOOMINGTON        MN     55425      USA
                    COMERICA                                            2000 AVENUE OF THE STARS, 2ND FLOOR                 LOS ANGELES        CA      90067     USA
                    CREATIVE WEALTH MEDIA FINANCE CORP.                 151 BLOOR STREET WEST, SUITE 700                    TORONTO            ON     M5S 1S4    CANADA
                    CORPORATION SERVICE COMPANY                        251 LITTLE FALLS DRIVE                              WILMINGTON         DE      19808‐1674 USA
                    DONALDSON CALLIF PEREZ, LLP                        5600 WEST ADAMS BOULEVARD SUITE 300                 LOS ANGELES        CA      90016      USA
                    ELIANA SOKOLOFF‐EXPENSE
                    EMILY CONNER                                       625 BURLEIGH DR                                     PASADENA         CA        91105      USA
                    EP GLOBAL PRODUCTION SOLUTIONS, LLC                PO BOX 741599                                       LOS ANGELES      CA        90074‐1599 USA
                    FILM SOLUTIONS LLC                                 1121 S FLOWER ST                                    BURBANK          CA        91502      USA
                    FORMAGRID. INC dba AIRTABLE                        799 MARKET ST, FL 8                                 SAN FRANCISCO    CA        94103      USA
                    GABRIELA LARA                                      11191 CORSICA COURT                                 RANCHO CUCAMONGA CA             91730 USA
                    GREENBERG GLUSKER FIELDS CLAMAN & MACHTINGER LLP   2049 CENTURY PARK EAST, SUITE 2600                  LOS ANGELES      CA        90067      USA
                    HORSESHOE MEDIA LLC                                5657 BELLINGHAM AVE.                                VALLEY VILLAGE   CA        91607      USA
                    HUDSON PRIVATE LP C/O KEVIN FRITZ                  125 PARK AVENUE, 7TH FLOOR                          NEW YORK         NY        10017      USA
                    HYBRID STUDIO                                      7505 W. 80th St.                                    LOS ANGELES      CA        90045      USA
                    JOSH MILLER ‐ EXPENSE
                    JRD ENTERPRISES, INC                               12136 SHERMAN WAY                                   N. HOLLYWOOD       CA      91605      USA
                    KAUFF MCGUIRE & MARGOLIS LLP                       950 THIRD AVENUE, FOURTEENTH FLOOR                  NEW YORK           NY      10022      USA
                    KEN BARBOZA ASSOCIATES INC                         383 JEFFERSON AVE                                   RAHWAY             NJ      07065      USA
                    KESTRA FINANCIAL, INC.                             5707 SOUTHWEST PARKWAY, BLDG 2, STE 400             AUSTIN             TX      78735
                    KILPATRICK TOWNSEND & STOCKTON, LLP                1100 PEACHTREE STREET NE, SUITE 2800                ATLANTA            GA      30309‐4528 USA
                    KLEVAN LONGARZO VANCE BLUMENSAADT LLP              10880 WILSHIRE BLVD. STE 905                        LOS ANGELES        CA      90024      USA
                    KONICA MINOLTA PREMIER FINANCE                     PO BOX 41602                                        PHILADELPHIA       PA      19101‐1602 USA
                    MAPLE PLAZA, L.P.                                  335‐345 NORTH MAPLE DRIVE, Ste 294                  BEVERLY HILLS      CA      90210      USA
                    MORRILARD LLC                                      413 West 53rd Street                                New York           NY      10019      USA
                    MPRM, LLC                                          5055 WILSHIRE BLVD, #501                            LOS ANGELES        CA      90036      USA
                    O'MELVENY & MYERS LLP                              1999 AVENUE OF THE STARS                            LOS ANGELES        CA      90067‐6035 USA
                    PATRICK MURRAY                                     4278 SHERMAN OAKS AVE                               SHERMAN OAKS       CA      91403      USA
                    POWERLAND COMPUTERS LTD                            170 MARION ST                                       WINNIPEG           MB      R2H0T4     CANADA
                    PRICEWATER HOUSE COOPERS LLP                       18 YORK STREET, SUITE 2600                          TORONTO            ON      M5J0B2     CANADA
                    PUTNEY SWOPE MARKETING                             2416 W VICTORY BLVD #218                            BURBANK            CA      91506      USA
                    ROSIE MENDEZ ASTUDILLO                             826 W. GLENOAKS BL.                                 GLENDALE           CA      91202      USA
                    RSM CANADA LLP                                     11 KING ST W #700                                   TORONTO            ON      M5H 4C7    CANADA
                    SP PLUS CORPORATION‐1006                           PO BOX 74007568                                     CHICAGO            IL      60674‐7568 USA
                    SP PLUS CORPORATION‐6947                           PO BOX 74007568                                     CHICAGO            IL      60674‐7568 USA
                    SPROUT SOCIAL, INC.                                131 S DEARBORN ST. SUTIE 700                        CHICAGO            IL      60603      USA
                    STAPLES BUSINESS CREDIT                            PO BOX 105638                                       ALTANT             GA      30348‐5638 USA
                    SUN LIFE ASSURANCE COMPANY OF CANADA‐247225        PO BOX 7247‐0381                                    PHILADELPHIA       PA      19170‐0381 USA
                    T ROWE PRICE RETIREMENT PLAN SERVICES              P.O BOX 64012                                       BALTIMORE          MD      21264‐4012 USA
                    TFS LEASING A PROGRAM OF DE LAGE LANDEN            FINANCIAL SERVICES                                  PHILEDELPHIA       PA      19101‐1602 USA
                    THE ANGELL PENSION GROUP                           88 BOYD AVENUE                                      EAST PROVIDENCE    RI      02914      USA
                    THE INDUSTRY EDGE, LLC                             PO BOX 480004                                       LOS ANGELES        CA      90048      USA
                    THE WALL GROUP LONDON                              5TH FLOOR ARUNDEL STREET BUILDING, 180 THE STRAND   LONDON                     WC2R 3DA UK
                    TIER ONE MECHANICAL, INC                           18414 S. SANTA FE AVE                               RANCHO DOMINGUEZ   CA      90221      USA
                    WALDBERG INC. ‐ THE REFINERY                       15301 VENTURA BLVD, D, SUITE 300                    SHERMAN OAKS       CA      91403      USA
                    WENDY HELLER LAW, INC                              1800 CENTURY PARK EAST, SUITE 400                   LOS ANGELES        CA      90067      USA
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                                ZAYO GROUP LLC                               1821 30TH STREET, UNIT A                BOULDER           CO      80301        USA
                                ZOOM VIDEO COMMUNICATIONS INC                PO BOX 398843                           SAN FRANCISCO     CA      94139‐8843   USA
Bron Digital                    Creditor(s)                                  Street                                  City              State   Zip Code     Country
                                CERIDIAN                                     3311 E OLD SHAKOPEE RD                  BLOOMINGTON       MN      55425        USA
                                DONALDSON CALLIF PEREZ                       400 SOUTH BEVERLY DRIVE                 BEVERLY HILLS     CA      90212        USA
                                STATE OF CONNECTICUT                         PO BOX 5089                             HARTFORD          CT      06102‐5089   USA
                                SUNLIFE                                      P.O. BOX 7247‐0381                      PHILADELPHIA      PA      19170‐0381   USA
                                JEWEL KINGDOM                                400 N. ROXBURY DRIVE                    BEVERLY HILLS     CA      90210        USA
Bron Releasing USA              Creditor(s)                                  Street                                  City              State   Zip Code     Country
                                BRON STUDIOS USA                             345 N Maple Dr #294                     BEVERLY HILLS     CA      90210        USA
                                GARY MARENZI
                                SCREEN ENGINE/ASI, LLC                       1925 Century Park East, Suite 950       LOS ANGELES       CA      90067        USA
                                ALEJANDRO GARCIA PEREZ                        9255 Sunset Blvd., Suite 515            West Hollywood    CA      90069       USA
                                ROBERTO IACHETTA
Bron Studios Development USA    Creditor(s)                                  Street                                  City              State   Zip Code     Country
                                ROBERT OLEN BUTLER
                                LEO GOUT                                     42 Ann Street, Apt. 7                   NEW YORK          NY      10038       USA
Bron Creative USA Corp          Creditor(s)                                  Street                                  City              State   Zip Code    Country
                                BRON STUDIOS USA                             345 N Maple Dr #294                     BEVERLY HILLS     CA      90210       USA
                                CREATIVE WEALTH MEDIA EQUITY FUND I LP        151 BLOOR STREET WEST, SUITE 700        TORONTO           ON     M5S 1S4     CANADA
                                CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700        TORONTO           ON     M5S 1S4     CANADA
                                CREATIVE WEALTH MEDIA LENDING LP 2016         151 BLOOR STREET WEST, SUITE 700        TORONTO           ON     M5S 1S4     CANADA
Bron Life                       Creditor(s)                                  Street                                  City              State   Zip Code    Country
                                BRON STUDIOS USA                             345 N Maple Dr #294                     BEVERLY HILLS     CA      90210       USA
                                CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700        TORONTO           ON     M5S 1S4     CANADA
Bron Ventures 1 LLC             Creditor(s)                                  Street                                  City              State   Zip Code    Country
                                BRON STUDIOS USA                             345 N Maple Dr #294                     BEVERLY HILLS     CA      90210       USA
                                ACCESS ROAD CAPITAL LLC                       258 Cedar Avenue                        Hewlett           NY      11557      USA
                                BIG BLOCK CAPITAL GROUP LLC                   75 Georgian CT                          ROSLYN            NY      11576      USA
                                CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700        TORONTO           ON     M5S 1S4     CANADA
Bron Media Holdings USA Corp    Creditor(s)                                  Street                                  City              State   Zip Code    Country
                                CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700        TORONTO           ON     M5S 1S4     CANADA
                                INTRINSIC PROPERTIES, LLC                     5 Mason Hill Road                       Warren            NJ      07059‐6944 USA
                                O' MELVENY & MYERS LLP                       1999 AVENUE OF THE STARS, 8Th Floor     LOS ANGELES       CA      90067‐6035 USA
FABLES PRODS USA INC                                                         Street                                  City              State   Zip Code    Country
                                ALISHA CRAWLEY‐DAVIS                         16608 38TH AVE SE                       BOTHELL           WA      98012      USA
                                BARBOUR & COMPANY, INC.                      W3233 ORCHARD AVENUE                    GREEN LAKE        WI      54941      USA
                                ENTERTAINMENT PARTNER SERVICES GROUP         2950 N HOLLYWOOD WAY                    BURBANK           CA      91505      USA
                                EP HEALTH INSURANCE SOLUTIONS, LLC           P.O. BOX 7837 MC 0200                   BURBANK           CA      91510      USA
                                FREDERICK GARDNER DESIGN                     636 ANSLEY WAY                          ALLEN             TX      75013      USA
                                MOXION LIMITED                               385 QUEEN STREET, LEVEL 4               AUCKLAND          AUK     1010       New Zealand
                                Pod Bay Doors, Inc                           4470 W. Sunset Blvd.                    Los Angeles       CA      90027      USA
                                SAG AFTRA HEALTH PLAN                        3601 W. OLIVE AVE.                      BURBANK           CA      91505      USA
                                UNITED AGENTS LLP                            12 ‐ 26 LEXINGTON STREET                LONDON                    W1F 0LE    UK
GOSSAMER PRODS USA, INC                                                      Street                                  City              State   Zip Code    Country
                                COURTNEY ROSEMONT                            3212 LAUREL AVE                         MANHATTAN BEACH   CA      90266      USA
                                CREATIVE ARTIST AGENCY                       2000 AVENUE OF THE STARS                Los Angeles       CA      90067      USA
                                CYD MUSIC LLC                                1 W MOUNTAIN STREET                     PASADENA          CA      91103      USA
                                EP HEALTH INSURANCE SOLUTIONS LLC            2950 N. HOLLYWOOD WAY                   BURBANK           CA      91505      USA
                                EVERCAST EVERCAST LLC                        7373 E. DOUBLETREE RANCH RD SUITE 200   SCOTTSDALE        AZ      85258      USA
                                GOSSAMER PRODUCTIONS BC INC.                 5542 SHORT STREET                       BURNABY           BC      V5J 1L9    USA
                                MARC GRAUE RECORDING STUDIOS INC.            3421 W BURBANK BLVD                     BURBANK           CA      91505      USA
                                POSTMODERN COMPANY                           2710 WALNUT STREET                      DENVER            CO      80205      USA
                                SOUNDTRACK                                   936 BROADWAY                            NEW YORK          NY      10010      USA
HARRY HAFT PRODUCTIONS, INC                                                  Street                                  City              State   Zip Code    Country
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                                  THREE POINT CAPITAL, LLC                         2041 Rosecrans Ave, Suite 322       El Segundo        CA      90245       USA
                                  ENTERTAINMENT PARTNERS                          2950 N. HOLLYWOOD WAY               BURBANK           CA      91505       USA
I AM PINK PRODS, LLC                                                              Street                              City              State   Zip Code     Country
                                  BMG RIGHTS MANAGEMENT (US) LLC                  ONE PARK AVE, FLOOR 18              NEW YORK          NY      10016       USA
                                  COMERICA                                        2000 AVENUE OF THE STARS            Los Angeles       CA      90067       USA
                                  CONCORD MUSIC GROUP, INC.                       10 LEA AVENUE, SUITE 300            NASHVILLE         TN      37210       USA
                                  CREATE MUSIC GROUP, INC.                        1320 N. WILTON PLACE                Los Angeles       CA      90028       USA
                                  DAEDREAM ENTERTAINMENT                          52 ST. SILAS HEIGHTS                ST. JAMES                             BARBADOS
                                  DIRECTOR'S CHOICE VIDEO INC.                    6062 SHADYGLADE AVE                 NORTH HOLLYWOOD   CA      91606       USA
                                  DMG CLEARNACES, INC                             7900 LANCASTER PIKE                 HOCKESSIN         DE      19707       USA
                                  ENTERTAINMENT PARTNERS                          2950 N. HOLLYWOOD WAY               BURBANK           CA      91505       USA
                                  GOLDCREST POST PRODUCTIONS LTD                  799 WASHINGTON STREET               NEW YORK          NY      10014       USA
                                  HIPGNOSIS SONGS GROUP, LLC                      PO BOX 260800                       ENCINO            CA      91426       USA
                                  RHINO ENTERTAINMENT COMPANY                     777 SOUTH SANTA FE AVENUE           Los Angeles       CA      90021       USA
                                  SONY MUSIC ENTERTAINMENT                        25 MADISON AVENUE                   NEW YORK          NY      10010       USA
                                  SOUTHERN MUSIC PUBLISHING CO., INC.             901 W. ALAMEDA AVE., SUITE 108      BURBANK           CA      91506       USA
                                  THE ADMINISTRATION MP, INC                      700 12TH AVENUE SOUTH SUITE 201     NASHVILLE         TN      37203       USA
                                  ULTRA INTERNATIONAL MUSIC PUBLISHING, LLC       137 WEST 25TH ST. FL 10             NEW YORK          NY      10001       USA
                                  UNIVERSAL MUSIC CORPORATION                     2100 COLORADO AVENUE                SANTA MONICA      CA      90404       USA
                                  WALT DISNEY MUSIC COMPANY                       5000 SOUTH BUENA VISTA STREET       BURBANK           CA      91521       USA
                                  XTATIK LIMITED                                  39 GORDON STREET                    PORT OF SPAIN                         TRINIDAD AND TOBAGO
NATIONAL ANTHEM PRODS INC                                                         Street                              City              State   Zip Code     Country
                                  42WEST, LLC                                     150 ALHAMBRA CIRCLE, SUITE 1200     CORAL GABLES      FL            33134 USA
                                  BANK ROBBER MUSIC, LLC                          2630 ELM HILL PIKE #125             NASHVILLE         TN            37214 USA
                                  CAPTIONMAX LLC                                  275 MARKET STREET                   MINNEAPOLIS       MN            55405 USA
                                  COLOR COLLECTIVE LLC                            PO BOX 573                          KAUNEONGA LAKE    NY            12749 USA
                                  CONCORD MUSIC GROUP, INC.                       10 LEA AVENUE, SUITE 300            NASHVILLE         TN            37210 USA
                                  DOWNTOWN MUSIC PUBLISHING, LLC                  FORT ANNE                           DOUGLAS           FO      1M1 5PD     ISLE OF MAN
                                  FORMOSA MUSIC GROUP                             1132 Vine Street                    Los Angeles       CA            90038 USA
                                  FORSTER MUSIC PUBLISHER, INC                    5309 W DEVON AVE                    CHICAGO           IL            60646 USA
                                  H.W. DAILY INC                                  4057 RILEY FUZZEL RD. #500          SPRING            TX            77386 USA
                                  HIPGNOSIS SONGS GROUP, LLC                      PO BOX 260800                       ENCINO            CA            91426 USA
                                  JOEY IAN NOE                                    4011 ARMORY OAKS DR                 NASHVILLE         TN            37204 USA
                                  RESERVOIR MEDIA MANAGEMENT INC                  200 VARICK STREET, SUITE 801A       NEW YORK          NY            10014 USA
                                  REVELS, INC.                                    80 MT AUBURN ST                     WATERTOWN         MA      02472       USA
                                  RHINO ENTERTAINMENT COMPANY                     777 SANTA FE AVE                    Los Angeles       CA            90021 USA
                                  SONY MUSIC ENTERTAINMENT                        25 MADISON AVENUE                   NEW YORK          NY            10010 USA
                                  SONY MUSIC PUBLISHING (US) LLC                  MSC 410768                          NASHVILLE         TN      37241‐0768 USA
                                  STEPBRIDGE STUDIOS                              528 JOSE STREET                     SANTA FE          NM            87501 USA
                                  TYROLIS HANDELS‐GMBH                            MEILSTRABE 46                       ZIRL              7              6170 AUSTRIA
                                  UNIVERSAL MUSIC PUBLISHING GROUP                7475 COLLECTIONS CENTER DRIVE       CHICAGO           IL            60693 USA
                                  WIXEN MUSIC PUBLISHING, INC                     24025 PARK SORRENTO, SUITE 130      CALABASAS         CA            91302 USA
NATIONAL ANTHEM HOLDINGS, LLC     Creditor(s)                                     Street                              City              State   Zip Code     Country
                                  CREATIVE WEALTH MEDIA FINANCE CORP.              151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4      CANADA
                                  CREATIVE WEALTH MEDIA LENDING LP 2016            151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4      CANADA
                                  THREE POINT CAPITAL, LLC                         2041 Rosecrans Ave, Suite 322       El Segundo        CA      90245       USA
ROBIN HOOD DIGITAL PC USA, INC    Creditor(s)                                     Street                              City              State   Zip Code     Country
                                  AEON MEDIA, INC                                 01 N 3rd St Ste 150                 MINNEAPOLIS       MN            55401 USA
                                  ENTERTAINMENT PARTNERS, LLC                     2950 N. HOLLYWOOD WAY               BURBANK           CA      91505       USA
                                  EP HEALTH INSURANCE SOLUTIONS LLC               2950 N. HOLLYWOOD WAY               BURBANK           CA      91510       USA
                                  EPIC GAMES, INC                                 620 Crossroads Boulevard            CARY              NC            27518 USA
                                  FRONT ROW INSURANCE VANCOUVER                   1788 W Broadway Suite 801           VANCOUVER         BC      V6J 1Y1     CANADA
                                  JAMES BURTON
                                  MARC GRAUE RECORDING STUDIOS INC.               3421 W BURBANK BLVD                 BURBANK           CA      91505      USA
                                  MOXION LIMITED                                  385 QUEEN STREET, LEVEL 4           AUCKLAND          AUK     1010
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                                   ROBIN HOOD DIGITAL USA LLC
                                   SOUND LOUNGE LLC                             149 5TH Ave FL 1                    NEW YORK          NY      10010‐6818 USA
ROBIN HOOD DIGITAL USA, LLC        Creditor(s)                                  Street                              City              State   Zip Code    Country
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
                                   DEBBIE PATRICK                                201 St Charles Ave, Suite 4300      New Orleans       LA      70170      USA
                                   GARY SOLOMON                                  1100 POYDRAS STREE SUITE 100        New Orleans       LA      70163      USA
                                   PATRICK PRENTISS                              1401 EXPOSITION BLVD                New Orleans       LA      70118      USA
SURROUNDED PRODS USA INC                                                        Street                              City              State   Zip Code    Country
                                   BRAUER & CO                                  PO BOX 9274                         CALABASAS         CA      91372       USA
                                   ENTERTAINMENT PARTNERS                       2950 N. HOLLYWOOD WAY               BURBANK           CA            91505 USA
                                   THE HERTZ CORPORATION                        PO BOX 121056                       DALLAS            TX      75312‐1056 USA
BAKHORMA, LLC                      Creditor(s)                                  Street                              City              State   Zip Code    Country
                                   BRON STUDIOS USA INC                          345 N. MAPLE DRIVE, SUITE 294       Beverly Hills     CA      90210      USA
DRUNK PARENTS, LLC                 Creditor(s)                                  Street                              City              State   Zip Code    Country
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
FABLES HOLDINGS USA, LLC           Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
                                   TPC LENDING & SERVICES, LLC                   2041 Rosecrans Ave, Suite 322       El Segundo        CA           90245 USA
GOSSAMER HOLDINGS USA, LLC         Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   CHENG FAMILY ASSET MANAGEMENT, LLC            1731 HOLT AVENUE                    LOS ALTOS         CA      94024      USA
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
                                   FOUR J FAMILY LLC                             P.O. BOX 5919                       BUFFALO GROVE     IL           60089 USA
HEAVYWEIGHT HOLDINGS, LLC (HARRY HACreditor(s)                                  Street                              City              State    Zip Code   Country
                                   BRON STUDIOS USA INC                          345 N. MAPLE DRIVE, SUITE 294       Beverly Hills     CA      90210      USA
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
                                   CREATIVE WEALTH MEDIA LENDING LP 2016         151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
LUCITE DESK, LLC                   Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   ANNAPURNA                                     812 N Robertson Blvd                WEST HOLLYWOOD    CA      90069      USA
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
                                   CREATIVE WEALTH MEDIA LENDING LP 2016         151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
PATHWAY PRODUCTIONS, LLC           Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   CREATIVE WEALTH MEDIA FINANCE CORP.           151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
SOLITARY HOLDINGS USA, LLC         Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   ACCESS ROAD CAPITAL LLC                       258 Cedar Avenue                    Hewlett           NY      11557      USA
                                   CREATIVE WEALTH MEDIA LENDING LP 2016         151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
SURROUNDED HOLDINGS USA LLC        Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   CREATIVE WEALTH MEDIA LENDING LP 2016         151 BLOOR STREET WEST, SUITE 700    TORONTO           ON     M5S 1S4     CANADA
WELCOME TO ME, LLC                 Creditor(s)                                  Street                              City              State    Zip Code   Country
                                   BRON RELEASING INC.                           5542 SHORT ST                       BURNABY           BC      V5J 1L9    CANADA
                                   BRON STUDIOS USA INC                          345 N. MAPLE DRIVE, SUITE 294       Beverly Hills     CA      90210      USA
                                   HERETIC FILMS MEZZANINE LOAN                  401 N. TARRAGONA STREET             PENSACOLA         FL      32501      USA
                                   RAYMONDS CAPITAL, LLC                         5 Mason Hill Road                   Warren            NJ      07059‐6499 USA
